877 F.2d 59Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Denrick Eric BROWN, Plaintiff-Appellant,v.Warden JOHNSON, D.K. Smith, Assistant Warden, Edward Carey,Doctor, Defendants-Appellees.
    No. 89-6524.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 31, 1989.Decided June 5, 1989.
    
      Denrick Eric Brown, appellant pro se.
      Before HARRISON L. WINTER, MURNAGHAN, and SPROUSE, Circuit Judges.
      PER CURIAM:
    
    
      1
      Denrick Eric Brown appeals the district court's order dismissing this 42 U.S.C. Sec. 1983 action for failure to demonstrate administrative exhaustion.  Acting pursuant to 42 U.S.C. Sec. 1997e, the district court ordered appellant to exhaust administrative remedies and to advise the court within 100 days of the result of the administrative proceedings.  It warned appellant that failure to advise the court regarding exhaustion would result in dismissal of the action.  The district court dismissed the case without prejudice upon expiration of the 100 day period, appellant not having complied with its order.
    
    
      2
      The district court could properly require exhaustion of administrative remedies under 42 U.S.C. Sec. 1997e.  Its dismissal of the action, without prejudice, when appellant failed to comply with its order was not abuse of discretion.*   We therefore affirm the judgment below.  We dispense with oral argument because the dispositive issues have recently been decided authoritatively.
    
    
      3
      AFFIRMED.
    
    
      
        *
         Brown is free to refile his complaint when he can provide to the district court either copies of grievances he has filed and responses he has received or his own statement setting forth in detail what the content of his grievance was, what appeals he filed and what responses he received
      
    
    